                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE

  LEWIS COSBY,                                    )
  KENNETH R. MARTIN,                              )
  as beneficiary of the                           )
  Kenneth Ray Martin Roth IRA, and                )
  MARTIN WEAKLEY, on behalf of                    )
  themselves and all others similarly situated,   )
                                                  )
                Plaintiffs,                       )
                                                  )
  v.                                              )    No.:   3:16-CV-121-TAV-DCP
                                                  )
  KPMG, LLP,                                      )
                                                  )
                Defendant.                        )


                                           ORDER

         Before the Court is plaintiffs’ motion for class certification [Doc. 107]. Pursuant to

  28 U.S.C. § 636, the motion [Doc. 107] is hereby REFERRED to the Honorable Debra C.

  Poplin, United States Magistrate Judge, for her consideration and determination or report

  and recommendation, as may be appropriate. In the interests of judicial economy and

  efficiency, this action is hereby STAYED pending resolution of plaintiffs’ motion to

  certify, with the exception that the parties may file their respective response and reply

  associated with that motion.

         IT IS SO ORDERED.



                                     s/ Thomas A. Varlan
                                     CHIEF UNITED STATES DISTRICT JUDGE




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